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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS


                                                          Case No. 19-cv-01339
 IN RE KRAFT HEINZ SECURITIES
 LITIGATION
                                                          The Honorable Robert M. Dow, Jr.


   STIPULATION AND [PROPOSED] ORDER REGARDING THE FIRST AMENDED
   CONSOLIDATED CLASS ACTION COMPLAINT AND MODIFICATION OF THE
                   SUBSEQUENT BRIEFING DEADLINES

       WHEREAS, on December 2, 2019, the Court entered a stipulation submitted by Lead

Plaintiffs Sjunde AP-Fonden (“AP7”) and Union Asset Management Holding AG (“Union”)

(collectively, “Lead Plaintiffs”), Defendants The Kraft Heinz Company (“Kraft Heinz”), Bernardo

Hees, Paulo Basilio and David Knopf, and Defendant 3G Capital, Inc., through their undersigned

counsel (the “Stipulation”) [ECF No. 175];

       WHEREAS, on January 6, 2020, Lead Plaintiffs filed the Consolidated Class Action

Complaint (the “Complaint”) [ECF No. 179];

       WHEREAS, on March 6, 2020, Defendants Kraft Heinz, Bernardo Hees, Paulo Basilio,

David Knopf, Alexandre Behring, George Zoghbi, Rafael Oliveira, 3G Capital Partners, 3G

Capital, Inc., 3G Global Food Holdings, L.P., 3G Global Food Holdings GP LP, 3G Capital

Partners LP, 3G Capital Partners II LP, and 3G Capital Partners Ltd. (“Defendants”), filed their

Motions to Dismiss the Consolidated Class Complaint [ECF Nos. 215; 217];

       WHEREAS, on May 15, 2020, Kraft Heinz filed a proposed amended public version of a

shareholder derivative complaint filed by one of the co-lead plaintiffs in In re The Kraft Heinz Co.

Derivative Litigation, No. 2019-0587-AGB (Del. Ch.) (“Delaware Action”).             The proposed

amended public version unsealed certain of that plaintiff’s allegations derived from documents

produced by Kraft Heinz pursuant to 8 Del. C. § 220;
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       WHEREAS, Lead Plaintiffs move this Court to amend the Consolidated Class Action

Complaint in view of these newly unsealed allegations in the Delaware Action;

       WHEREAS, Lead Plaintiffs have conferred with counsel for Defendants, and Defendants

do not object to Lead Plaintiffs amending the Complaint, but advised Lead Plaintiffs of their

position that dismissal following Defendants’ renewed motion should be with prejudice, in light

of the amendment following Defendants’ initial motion to dismiss. Lead Plaintiffs advised

Defendants that they disagreed with Defendants’ position and informed Defendants of Lead

Plaintiffs’ position that Lead Plaintiffs are entitled to amend their pleading as a matter of course

under Rule 15(a)(1)(B);

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among the

parties through their respective counsel of record as follows:

       1.      Lead Plaintiffs shall file the First Amended Consolidated Class Action Complaint
               (the “Amended Complaint”) 45 days from the entry of this Order.

       2.      Defendants shall have 45 days from the date the Amended Complaint is filed to
               move to dismiss or file their answer to the Amended Complaint.

       3.      Lead Plaintiffs shall have 45 days to file an opposition if Defendants move to
               dismiss the Amended Complaint.

       4.      Defendants shall have 21 days from the date that Lead Plaintiffs file the
               opposition brief to file a reply brief.



Dated: June 15, 2020

 /s/ Salvatore J. Graziano                           /s/ Daniel J. Kramer
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                                                    Partners Ltd.




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SO ORDERED:




The Honorable Robert M. Dow, Jr.
United States District Judge




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